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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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 8
      UNITED STATES OF AMERICA,
 9
                                  Plaintiff,                   No. CR05-424Z
10
      v.
11
                                                               ORDER
      WADE B. COOK and LAURA M. COOK,
12
                                  Defendants.
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            This matter comes before the Court on defendant Wade Cook’s Motion for Amendment
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     of Conditions of Release, docket no. 33. Pretrial Services has issued its Supplemental Pretrial
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     Services Report, dated January 24, 2006, finding that defendant is “viewed as a risk of financial
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     danger due to lack of information regarding the defendant’s employment, current income, and
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     assets and liabilities.” As a condition of release Pretrial Services recommended and Magistrate
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     Judge Mary Alice Theiler imposed certain conditions of an Appearance Bond which are now
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     the subject matter of defendant’s motion. Specifically, defendant’s Appearance Bond prohibits
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     self-employment under any business entity unless permitted by Pretrial Services and requires
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     defendant Wade Cook to provide Pretrial Services “with any information regarding . . . financial
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     status, income sources, and investments.”
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            Defendant Wade Cook and his co-defendant wife Laura Cook, were charged by
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     Information in December 2005 with seven counts of conspiracy, income tax evasion and filing
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     false tax returns. A separate Indictment also returned in December 2005 charged the defendants

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 1   with obstruction of justice. The Government has recently filed a Superseding Indictment
 2   charging these same crimes. See docket no. 39. The Government alleges that the Cooks
 3   conspired to fraudulently obtain and conceal approximately $8.9 million in royalties involving
 4   hundreds of financial transactions over several years and later attempted to obstruct justice by
 5   presenting to the Government a false and fraudulent “Secured Promissory Note.”
 6            The Court has considered the factors set forth in 18 U.S.C. § 3142(g) and concludes as
 7   a matter of law that the conditions set by the Magistrate Judge are reasonably necessary to assure
 8   the appearance of Wade Cook and to assure the safety of the community.
 9            Any disclosure of financial information to Pretrial Services shall be treated as confidential
10   by Pretrial Services and shall not be disclosed to Government counsel without prior order of the
11   Court.
12            The defendant’s Motion for Amendment of Conditions of Release, docket no. 33, is
13   DENIED.
14            IT IS SO ORDERED.
15            DATED this 14th day of February, 2006.
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                                                   A
                                                   Thomas S. Zilly
                                                   United States District Judge
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     ORDER -2-
